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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA

                v.                                       Criminal Nos. 19-163


 JARED ECK


     GOVERNMENT’S POSITION WITH RESPECT TO SENTENCING FACTORS

               AND NOW comes the United States of America, by its attorneys, Scott W. Brady,

United States Attorney for the Western District of Pennsylvania, and Rebecca L. Silinski, Assistant

United States Attorney for said district and represents as follows:

               1.      The undersigned counsel for the government has reviewed the final

Presentence Investigation Report (“PSIR”), Doc. No. 161, and conferred, by way of administrative

resolution, with both defense counsel and the probation officer responsible for preparing the PSIR.

               2.      The government has no objections, additions, deletions, or corrections to

the PSIR.

                                                      Respectfully submitted,

                                                      SCOTT W. BRADY
                                                      United States Attorney


                                              By:     /s/ Rebecca L. Silinski
                                                      REBECCA L. SILINSKI
                                                      Assistant United States Attorney
                                                      PA ID No. 320774
